Case 2:04-Cr-20221-BBD DoCument 43 Filed 08/24/05 Page 1 of 2 Page|D 50

 

    

UNITED STATES DISTRICT COURT F‘*~-~“"~`Y-`~ -"`--‘-"f y y D.e.
FOR THE WESTERN DISTRICT 0F TENNESSEE

WESTERN DIVISION 05 hug 214 PM 1236

Ct §§ ‘ -"}'13

UNITES STATES OF AMERICA, ERE"i:-'$-¢‘-,Pr , -- . COUH
V‘L"U L," \¥='\i:"h'ip}'{;$
Plaintiff,
v. Cr. No. 04-20221-D

AMALIA L. MARCELLA,

Defendant.

 

OR])ER GRANTING DEFENDANT’S MOTION
TO RESET REPORT DATE

 

For good cause shown, the report date in this matter currently set for Thursday, August 25,

ZOOS,isherebyRESETfor F¢'QA,[ BEBQQ,-L `;&¢,_,.hgr .QL ,2005.

n is 30 0RDERED, this the 33 ’a§y of August, 2005.

 

 

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with Hule 55 and/or 32(b) FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

